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11
                                   IN THE UNITED STATES DISTRICT COURT
12
                                       FOR THE DISTRICT OF NEVADA
13
     Cung Le, Nathan Quarry, Jon Fitch, Brandon        Case No.: 2:15-cv-01045-RFB-BNW
14   Vera, Luis Javier Vazquez, and Kyle
     Kingsbury, on behalf of themselves and all        PLAINTIFFS’ SUPPLEMENTAL NOTICE
15   others similarly situated,                        REGARDING DISCLOSURE OF CASE
                                                       MATERIALS IN CONNECTION WITH
16                    Plaintiﬀs,                       CLASS CERTIFICATION OPINION AND
                                                       ORDER
17            vs.

18   Zuﬀa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
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                      Defendant.
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                                                                        Case No.: 2:15-cv-01045 RFB-BNW
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 1            In response to the Court’s January 6, 2021 Minute Order (ECF No. 782) requesting all parties to

 2 indicate their positions regarding the unsealing of all documents in this case with the publication of the

 3 Court’s forthcoming order on Plaintiffs’ Motion for Class Certification, Non-Party Bellator Sport

 4 Worldwide LLC objected to the unsealing of two pages: SBPLCL00002101-2102. See ECF 785. In light

 5 of Bellator’s third-party status and the modest nature of its request, Plaintiffs have no objection to those

 6 two pages remaining under seal.

 7            As to the broader objections set forth by Zuffa,1 Plaintiffs respectfully request that the Court issue
 8 its Class Certification Order, while temporarily withholding a ruling on any further unsealing of record

 9 evidence, and providing the parties a brief window of time to address which record documents, if any,

10 should remain sealed or partially redacted. Such a course would allow the case to proceed, while the

11 parties address Zuffa’s or third parties’ objections in context and based on the relevance of the contested

12 documents and their contents to the Court’s Order.

13            Dated this 26th day of January, 2021.

14                                                     /s/ Don Springmeyer                   _
                                                      Don Springmeyer (Nevada Bar No. 1021)
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     1
    Zuﬀa objects to the unsealing of “PCCX41, PCCX344, PCCX414, the expert reports of Guy Davis and
28 Elizabeth Davis, the relevant portions of Dr. Singer and Dr. Zimbalist’s expert reports, and any other
   documents not related to the Class Certification Order.” ECF 786, at 9.
                                                            1                    Case No.: 2:15-cv-01045 RFB-BNW
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 1                                           CERTIFICATE OF SERVICE

 2                I hereby certify that on this 26th day of January 2021 a true and correct copy of PLAINTIFFS’

 3 SUPPLEMENTAL NOTICE REGARDING DISCLOSURE OF CASE MATERIALS was served via

 4 the District of Nevada’s ECF system to all counsel of record who have enrolled in the ECF system.

 5

 6                                                         /s/ Pamela Montgomery
                                                           An employee of Kemp Jones, LLP
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